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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                          BID PROTEST

                                        )
 FMS Investment Corp. et al.,           )
                                        )
                 Plaintiffs,            )                       Case Nos. 18-204 et al.
                                        )
      v.                                )                       Judge Thomas C. Wheeler
                                        )
 THE UNITED STATES,                     )
                                        )
                 Defendant,             )
                                        )
      and                               )
                                        )
 PERFORMANT RECOVERY, INC. et al.,      )
                                        )
                 Defendant-Intervenors. )
                                        )

                   PLAINTIFF FMS INVESTMENT CORP.’S RESPONSE
                          TO COURT’S MAY 7, 2018 ORDER

       On May 7, 2018, the Government filed a motion to dismiss the above-captioned

consolidated bid protests in light of its decision to cancel the solicitation at issue in this case and

to terminate for convenience its awards to Windham Professionals, Inc. and Performant Recovery,

Inc. See Dkt. No. 189. Also on May 7, 2018, the Court ordered all parties in this litigation to file

a notice with the Court on or before Friday, May 11, 2018, indicating whether they plan to oppose

the Government’s motion. In response to the Court’s order, Plaintiff FMS Investment Corp. states

that it plans to oppose the Government’s motion.
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                                           Respectfully submitted,

                                           /s/ David R. Johnson
                                           David R. Johnson
                                           VINSON & ELKINS LLP
                                           2200 Pennsylvania Avenue, N.W.
                                           Suite 500 West
                                           Washington, D.C. 20037
                                           Telephone: (202) 639-6500
                                           Facsimile: (202) 639-6604
                                           Email: drjohnson@velaw.com

                                           Lead Attorney for Plaintiff
                                           FMS Investment Corp.
Of counsel:
Tyler E. Robinson
Ryan D. Stalnaker                          Dated: May 8, 2018
VINSON & ELKINS LLP
2200 Pennsylvania Avenue, N.W.
Suite 500 West
Washington, D.C. 20037
Telephone: (202) 639-6500
Facsimile: (202) 639-6604
Email: trobinson@velaw.com

Attorneys for Plaintiff
FMS Investment Corp.




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 8, 2018, a true and correct copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will send

notification to all counsel of record in this matter who are registered with the Court’s CM/ECF

system.

                                                     /s/ David R. Johnson
                                                     David R. Johnson




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